                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
                               Plaintiff,              )
                                                       )
vs.                                                    )    Case No. 15-00202-01-CR-W-GAF
                                                       )
MICHAEL C. BELLINGHAUSEN,                              )
                                                       )
                               Defendant.              )

                                             ORDER

       On September 15, 2016, Defendant appeared pursuant to Fed.R.Crim.P. 11, Local Rule

72.1(j)(27), and 28 U.S.C. § 636 and entered a plea of guilty to Count(s) One and Two of the

Superseding Indictment (doc. 29) before United States Magistrate Judge John T. Maughmer. On

September 15, 2016, Judge Maughmer issued his Report and Recommendation (doc. 198).

Objections were due on or before October 3, 2016. No objections were filed.

       Upon careful and independent review, this Court finds that defendant’s plea was

knowledgeable and voluntary and that the offenses charged are supported by an independent

basis in fact containing each of the essential elements of such offenses. Accordingly, this Court

hereby adopts and incorporates as its own Opinion and Order the Report and Recommendation

of United States Magistrate Judge John T. Maughmer.

       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and

defendant is adjudged guilty. The defendant’s sentencing hearing will be scheduled and the

parties notified of the date and time of sentencing.

       SO ORDERED.

                                                       s/ Gary A. Fenner
                                                       GARY A. FENNER, JUDGE
                                                       UNITED STATES DISTRICT COURT
DATED: October 4, 2016

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